Case 21-03032-MBK            Doc 110-2 Filed 11/24/21 Entered 11/24/21 16:26:38                                        Desc
                                     Exhibit 1 Page 1 of 1

From:            Leigh O"Dell
To:              Sharko, Susan M; Wayne Fang
Cc:              MParfitt; "Locke, Thomas T (TLocke@seyfarth.com)"; Beisner, John H; Brennan, Jessica L.; pec@talc-mdl.com
Subject:         RE: [EXT] FW: Talc MDL - filed notice
Date:            Friday, October 15, 2021 10:35:03 AM


Wayne, please see below the PSC’s reply. Thank you.

Dear Chief Judge Wolfson,

The Plaintiffs’ Steering Committee opposes any stay of proceedings against Johnson & Johnson Inc.
or Johnson & Johnson Consumer Inc. Neither company has filed bankruptcy. The law does not
provide for an automatic stay of cases against non-debtors. The Plaintiffs’ Steering Committee will
be filing an opposition to a stay and requests the opportunity to be heard on this issue.

Thank you for your consideration.

Respectfully submitted,
Leigh O’Dell
Michelle Parfitt




P. Leigh O'Dell   ​




Principal
334.269.2343



From: Sharko, Susan M <susan.sharko@faegredrinker.com>
Sent: Friday, October 15, 2021 8:54 AM
To: Wayne Fang <Wayne_Fang@njd.uscourts.gov>
Cc: MParfitt <MParfitt@ashcraftlaw.com>; Leigh O'Dell <Leigh.ODell@BeasleyAllen.com>; 'Locke,
Thomas T (TLocke@seyfarth.com)' <TLocke@seyfarth.com>; Beisner, John H
<John.Beisner@skadden.com>; Brennan, Jessica L. <jessica.brennan@faegredrinker.com>
Subject: [EXT] FW: Talc MDL - filed notice


[EXTERNAL]

Wayne, here is a note for Chief Judge Wolfson.   Thank you. Sincerely, Susan

Dear Chief Judge Wolfson:   attached is the notice of bankruptcy filing and stay filed this
morning.   We very much appreciate the time and attention you have devoted to managing
this MDL, especially through the last challenging two years. And thanks also to Wayne and
Jackie for all their efforts and responsiveness; they made the pandemic period seamless for
us.   Respectfully, Susan
